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                                                      U.S. Department of Justice


                                                      United States Attorney
                                                      Eastern District ofNew York

DMP:CRH/JAM/JGH                                       271 Cadman Plaza East
F.#2020R00515                                         Brooklyn, New York 11201

                                                      August 26, 2020

By ECF and Hand
Honorable Rachel P. Kovner
United States District Judge                                                    FILED
Eastern District of New York                                            WI. ~L!!!!('S OFFICE
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                                                                            .,IV I COURT E.D.N,Y.

                                                                        * AUG 26 2020 *
225 Cadman Plaza East
Brooklyn, New York 11201

               Re:     United States v. Dzenan Camovic                  BROOKLYN OFFICE
                       Criminal No. 20-CR-326 (RPK)

Dear Judge Kovner:

               A grand jury sitting in the Eastern District of New \ttn-k returned a four-count
indictment (the "Indictment") today charging the defendant, Dzenan Camovic, with robbery and
firearms offenses arising out of his stabbing, robbery and shooting of niembers of the New York
City Police Department ("NYPD") on the night of June 3, 2020 in B:r;ooklyn. Camovic has also
been charged by a Brooklyn state grand jury with several New Yark State crimes, including
multiple counts of attempted murder in the first degree, attempted murder of a police officer,
aggravated assault and several weapons offenses.

                The government writes in advance of Camovic' s ~aJgnment on the charges
contained in the Indictment to respectfully submit that the Court shoti1cl enter a permanent order
of detention because the defendant presents both a severe and ongoing .danger to the comm~ty
and a serious risk of flight. In brief, the defendant presents a danger to the community for two
reasons. First, he robbed an NYPD police officer of his firearm in an unprovoked attack so that
he could shoot several other police officers and, in fact, shot at those ·officers, demonstrating his
callous disregard for human life. Second, as substantial evidence collected thus far shows, his
actions were motivated by his interest in and support for violent Islamist extremism. The defendant
also presents a risk of flight because, as an illegal alien with no immigration status in the United
States, he has no incentive to remain in the country given his certain deportation. 1




        1
          Detailed herein are a proffer of the relevant facts and a discussion of the applicable law
pertaining to the pretrial detention of the defendant. See United States v. Lafontaine, 210 F.3d
125, 130-31 (2d Cir. 2000) (government entitled to proceed by proffer in detention hearings). This
proffer of facts is not a complete statement of all facts and evidence of which the government is
aware or that it will seek to introduce at a detention hearing or trial. Where the content of
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I.       The Indictment

                The defendant is charged with the following crimes: ( 1) Hobbs Act robbery, in
violation of 18 U.S.C. § 1951(a) (Count One); (2) possessing, brandishing and discharging a
firearm in furtherance of a crime of violence, to wit: the Hobbs Act robbery charged in Count One,
in violation of 18 U.S.C. §§ 924(c)(i)-(iii) (Count Two); (3) theft of a firearm that has moved in
interstate commerce, in violation of 18 U.S.C. § 924(1) (Count Three); and (4) possession of a
firearm by a noncitizen illegally or unlawfully in the United States, in violation of 18 U.S.C. §
922(g)(5).

II.      The Offense Conduct

              The defendant is a 20-year-old resident of Brooklyn, New York. He is a Bosnian
national who was born in Germany. He has no legal immigration status in the United States.2

         A.    Camovic's Attack and Robbery ofNYPD Police Officers

               In early June 2020, New York City was under a nightly curfew order from 8:00
p.m. until 5 :00 a.m. in response to social unrest after a series of demonstrations took place
throughout the City. As a result of the demonstrations, hundreds ofNYPD officers were deployed
throughout the City to help enforce the curfew, including in Brooklyn.

                 On the evening of June 3, 2020, at approximately 11 :30 p.m., Camovic walked past
two uniformed NYPD officers standing near 885 Flatbush Avenue, near the corner of Church
Avenue. The two officers were assigned to an anti-looting post that evening. Video footage shows
that, after walking past the officers, Camovic walked down the street and appeared to crouch for
approximately eight minutes. Camovic then stood up, lingered briefly and then headed back
toward the police officers. At approximately this time, Camovic sent a text message to a friend
stating "1[']11 be a while." Video footage shows that Camovic then squared an entire block in an
apparent effort to approach the two police officers from behind.

               At approximately 11 :50 p.m., Camovic turned onto Church Avenue, where the two
NYPD officers stood on patrol. Upon turning the comer in the direction of the police officers,
Camovic immediately took a knife he was holding and stabbed one of the officers in the neck area.
After stabbing and wounding the first officer ("Officer 1"), Camovic started chasing the second
officer ("Officer 2"), violently lunging at him in an attempt to stab him. Camovic then ran back
toward Officer 1 and attacked him again. A struggle ensued, and Camovic fought to take control
of Officer 1's service weapon. Ultimately, Camovic forcibly gained possession of Officer 1's
service weapon, thereby robbing the officer of"his firearm. Using the officer's firearm, Camovic


statements, documents, or written communications are de~cribed herein, they are done so in
pertinent part and in sum and substance, except where quoted or otherwise indicated.
         2
         The United States Department of Homeland Security has informed the government that,
as a result of Camovic's unlawful status in the United States, an immigration detainer has been
lodged against him.

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fired multiple shots at the police, including additional officers who had responded to the scene.
Responding officers ultimately shot Camovic and took him into custody. Several officers were
wounded during the course of Camovic's attack and robbery, including Officer 1, who was
stabbed, and Officer 2, who was shot in the hand.

                During his attack on the NYPD officers, Camovic repeatedly screamed "Allahu
Akbar." The phrase "Allahu Akbar" is an Arabic expression usually translated as "God is the
greatest" and is commonly used among Muslims to connote a positive event. However, the phrase
has also repeatedly been exclaimed by perpetrators of jihadist terror attacks around the world
during the commission of such attacks. 3 For example, according to public reports, in October
2017, after ramming a pickup truck through numerous people on the bike path adjacent to
Manhattan's West Side highway, Sayfullo Saipov exited the truck and shouted "Allahu Akbar" as
he ran around waving a pellet gun and paintball gun. Saipov later admitted that watching terrorist
propaganda videos inspired him to commit this terrorist attack, which killed eight people and
injured eleven.

       B.      Camovic's Post Arrest Admission of Guilt and Intent

                Immediately after the shooting, Camovic was transported from the crime scene to
Kings County Hospital where he received treatment for multiple gunshot wounds. Several days
later, while Camovic was recovering in the hospital's intensive care unit, Camovic told a medical
professional, in sum and substance, that he had killed two police officers and "my religion made
me do it."

       C.      Camovic's Possession of Jihadist Materials and Interest in Terrorist Organizations

               The government's investigation to date shows that, prior to his June 3, 2020 robbery
of and attack on the NYPD police officers, Camovic possessed a significant volume of materials
that demonstrate his interest in and support for violent Islamist extremism, including the
designated foreign terrorist organization the Islamic State of Iraq and al-Sham ("ISIS"). For
example, one of Camovic' s cellular telephones contained an image with Arabic language stating
"The Islamic State. Dabiq. Audios of the Caliphate. Dabiq." "Dabiq" is an official magazine of
ISIS, and was used by ISIS to radicalize and recruit followers. Camovic's phone also included an
image of an Arabic language media logo superimposed over an ISIS-style flag, and an image with
Arabic and English language that stated, '~[t]he mujahid w.alks back to life after death." Notably,
these images were found in the "carved" space of the phone, indicating they had been deleted.

             Additionally, a search of Camovic's bedroom of his residence in Brooklyn revealed
CDs and a thumb drive containing audio and video files of lectures and sermons by Anwar al-

       3 See gen:erally "'Allahu Akbar': An Everyday Phrase, Tarnished by Attacks," New York
Times,        Eric         Nagoumey,         Nov.        2,      2017,      available       at
https://www.nytimes.com/2017/11 /02/world/americas/allahu-akbar-terrorism.html (last visited
August 10, 2020) (explaining that in addition to its innocuous common use among Muslims, the
phrase "Allahu Akbar" has also been seized on by jihadists who claim that Isl~ justifies their
attacks on innocent civilians in the name of God).

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Awlaki, a U.S.-bom radical Islamic cleric and prominent leader of al-Qaeda in the Arabian
Peninsula ("AQAP"), who even now, nearly nine years after his death, is still commonly regarded
as the leading figure inciting English-speaking Muslims to participate in violent jihad. The same
thumb drive recovered from Camovic's bedroom also contained files with logos of al-Hayat Media
Center, al-Ajnad and al-Bayan, which are all official ISIS media outlets, as well as images bearing
Arabic-language logos which said "The Islamic State" and "Dabiq."

               An individual who was interviewed about Camovic during the course of the
government's investigation ("Individual 1") informed the government that, approximately one
year ago, Camovic had expressed interest in ISIS and other Syrian-based terrorist groups.
Although Individual 1 stated that Camovic did not hold extreme religious beliefs, s/he advised that
Camovic asked about, among other things, the permissibility of killing civilians and whether
killing other Muslim combatants was permissible, like ISIS fighters' killing of other Muslims.

       D.       Jihadist Encouragement of Similar Attacks

                Notably, foreign terrorist organizations like ISIS have long counseled followers to
commit acts of violence using knives and other crude weapons, and have publicly released videos
and other materials that demonstrate how to kill people using knives, explicitly calling for such
attacks in the United States. Such attack methods have been described in detail in 'how-to-guide'
articles in English language jihadist magazines. For example, in October 2016, "Rumiyah," the
online propaganda and recruitment magazine published by ISIS, told followers that holy warriors
down through Muslim history have "struck the necks of the kuffar"4 in the name of Allah. The
magazine advised its readers that knives are easy to obtain, easy to hide, and deadly, and that they
make good weapons in places where the author believed Muslims might be regarded with
suspicion. These directives have been repeatedly carried out by followers oflSIS and other foreign
terrorist organizations.

                Additionally, ISIS has directed followers to take advantage of the recent social
unrest in the United States, and commit acts of violence designed to further inflame tensions. For
example, on "Shamukh," which is an ISIS-related forum on the dark web, a series of threads on or
about May 31, 2020, just days before Camovic's attack, urged supporters in the United States to
exploit current social tensions by carrying out physical attacks against law enforcement and
protesters to sow further discord.

       E.       Camovic's Use of the Dark Web and Encrypted Means of Communication

               As noted above, Camovic appears to have deleted or otherwise attempted to remove
jihadist propaganda from his electronic devices prior to the June 3, 2020 attack. Camovic also
downloaded to his phone - and subsequently deleted prior to his attack - an app associated with
the "dark web," which is designed to anonymize and encrypt the user's internet activity. Camovic
used multiple social media and messaging platforms, which provided encrypted or otherwise
undetectable means of communication and which were used to communicate with individuals


       4
           "Kuffar" is a term meaning "nonbeliever."

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located overseas, and Camovic shifted from one platform to another in an apparent effort to hide
these communications.

Ill.    Legal Standard

                Under the Bail Reform Act, Title 18, United States Code, Sections 3141 et seq., a
criminal defendant "shall" be detained pending trial upon a judicial finding that "no conditions or
combination of conditions will reasonably assure the appearance of the [defendant] as required
and the safety of any other person and the community[.]" 18 U.S.C. § 3142(e)(l); see United
States v. Mattis, No. 20-1713, 2020 WL 3536277, at *4 (2d Cir. June 30, 2020) ("A district court
is instructed to order the pre-trial detention of a defendant if, after a hearing, the judge 'finds that
no condition or combination of conditions will reasonably assure the appearance of the person as
required and the safety of any other person and the community."' (quoting 18 U.S.C.
§ 3142(e)(l))). The government bears the burden of demonstrating dangerousness by clear and
convincing evidence, and risk of flight by a preponderance of the evidence. United States v.
Chimurenga, 760 F.2d 400,405 (2d Cir. 2001).

                For certain offenses, including Count Two charged in the Indictment, the law
presumes that there is no set of conditions that will reasonably assure the defendant's appearance
or the safety of the community. See. 18 U.S.C. § 3142(e)(3)(B). This presumption may be rebutted
by the defendant, provided the defendant is able to present evidence that he is neither a danger to
the community nor a risk of flight. See United States v. Mercedes, 254 F.3d 433, 436 (2d Cir.
2001). Even upon such a showing, however, the presumption in favor of detention "does not
disappear entirely, but remains a factor to be consi~ered among those weighed[,]" id., because it
"reflects Congress's substantive judgment that particular classes of offenders should ordinarily be
detained prior to trial" and "represents Congressional findings that certain offenders ... are likely
to continue to engage in criminal conduct undeterred either by the pendency of charges against
them or by the imposition of monetary bond or other release conditions." United States v. Stone,
608 F3d 939, 945-946 (6th Cir. 2010) (internal quotation marks and citation omitted) (ellipsis in
original).                                                                        ·

               In determining "whether the presumptions of dangerousness and flight are
rebutted," Mercedes, 254 F.3d at 436, and "whether there are conditions of release that will
reasonably assure the appearance of the person as required and the safety of any other person and
the community," 18 U.S.C. § 3142(g), the Court must consider: (1) the nature and circumstances
of the offenses charged, including whether the offense is a "crime of violence"; (2) the weight of
the evidence against the defendant; (3) the history and characteristics of the defendant; and (4) the
nature and seriousness of the danger to any person or the community that would be posed by the
defendant's release. See 18 U.S.C. § 3142(g).

IV.     The Court Should Enter a Permanent Order of Detention

             As set forth below, each of the Bail Reform Act factors weighs heavily in favor of
Camovic's pretrial detention, as he presents both a significant danger to the community and a




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substantial risk of flight if released on bond. Accordingly, the Court should enter a permanent
order of detention pending trial. 5

        A.     The Presumption of Detention

                 Count Two of the Indictment charges Camovic with possessing, brandishing and
 discharging a firearm in furtherance of a crime of violence (the Hobbs Act robbery charged in
 Count One), in violation of 18 U.S.C. §§ 924(c)(i)-(iii). Because Camovic has been indicted for
.violating Section 924(c), "a statutory presumption in favor of detention arises that 'no condition
 or combination of conditions will reasonably assure the appearance of the person as required and
 the safety of any other person and the community."' Mercedes, 254 F.3d at 436 (quoting 18 U.S.C.
 § 3142(e)).

        B.     The Nature and Circumstances of the Charged Offenses

                The severity of the charged offenses and defendant's violent disregard for human
life cannot be overstated. The defendant's actions on June 3, 2020-and the terroristic motivations
seemingly underpinning them - demonstrate that his release would pose an acute danger to the
community.

                In the middle of an unprecedented public health crisis and a period of significant
social unrest in New York City that required a massive deployment of police to protect public
safety and enforce a citywide curfew, Camovic executed a violent attack on two NYPD officers
who were simply manning their foot post when he brutally assaulted them, robbed one officer of·
his weapon, and fired the weapon at the officers and other NYPD officers who responded to the
scene. The premediated nature of the initial attack is beyond dispute; Camovic can be seen on
video stalking the officers and squaring a city block in order to approach them from behind, all
while carrying a knife and after texting a friend that he would "be a while" before meeting up.

               The attack and robbery are chilling. Video footage shows Camovic approaching
Officer 1 from behind and immediately and violently stabbing him in the neck area, without
provocation or warning. The footage then shows Camovic chasing Officer 2 in an attempt to stab
him, all while shouting "Allahu Akbar" - the same phrase violent jihadist extremists have
screamed while committing similarly violent terrorist attacks. Camovic theu struggled with
Officer 1, robbed him of his firearm by force and, once he had possession ofit, immediately began
shooting at the NYPD officers, including officers who responded to the scene. One officer was

        5
          Camovic is currently detained without bail on New York state criminal charges arising
out of the same conduct that gives rise to the charges in the Indictment. On June 5, 2020, the Kings
County District Attorney's Office filed a criminal complaint against Camovic charging him with
two counts of attempted aggravated murder, two counts of attempted first-degree murder and one
count of criminal possession of a weapon in the second degree. On June 30, 2020, Camovic was
arraigned on the state charges via videoconference and ordered detained without bail pending trial.
Camovic is currently in stable condition and detained on the state charges in a medical unit of the
Rikers Correctional Center on Rikers Island.

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shot during the attack. Camovic did all of this after consuming a swath of jihadist material,
including ISIS propaganda, and at a time when ISIS was encouraging supporters to conduct attacks
on law enforcement in the United States and foment further unrest. Camovic also notably
downloaded and used several forms of encryption to hide his online activity and communications
immediately prior to the attack. Camovic's intent to commit an act of terrorism is further
demonstrated by his statement to a medical professional days after the attack that he believed he
had killed two police officers and had done so because "my religion made me do it."

               The severity of the charged crimes is further reflected by the applicable punishment
upon conviction. If convicted, Camovic faces a mandatory minimum sentence of ten years'
imprisonment and a maximum sentence of life imprisonment resulting from the Section 924(c)
discharge offense alone, a sentence which must run consecutive to any other term of imprisonment
imposed. The Hobbs Act robbery carries a 20-year maximum sentence, while Counts Three and
Four each carry ten-year maximum terms.

               Additionally, based on the evidence obtained to date regarding the defendant's
support for ISIS, his consumption of jihadist propaganda, the manner in which he committed the
offenses and his own admission of his intent, the terrorism enhancement under Section 3Al .4 of
the United States Sentencing Guidelines (the "Guidelines") will apply to the calculation of the
defendant's advisory Guidelines range. 6 Based on the application of the terrorism enhancement,
the government estimates that the defendant would face an advisory Guidelines range of life
imprisonment.                                        ·

               In sum, the defendant's conduct on June 3, 2020 and the extremist motives
underpinning it show that Camovic presents a grave danger to the community that no set of release


       6
          Under this provision, "[i]f the offense is a felony that involved, or was intended to
promote, a federal crime of terrorism," the court is to add 12 levels to a defendant's offense level
and to increase the defendant's criminal history category to category VI. The application notes to
Section 3Al.4 give the term "federal crime of terrorism" the same meaning as set forth in 18 U.S.C.
 § 2332b(g)(5). Section 2332b(g)(5) defines a "federal crime of terrorism" as (a) a crime that "is
calculated to influence or affect the conduct of government by intimidation or coercion, or to
retaliate against government conduct," and (b) constitutes a .violation of one or more of a list of
enumerated federal statutes. See 18 U.S.C. § 2332b(g)(5). Because the enhancement applies to
conduct that "was intended to promote" a crime of terrorism, there is no requirement that any of
the statutes identified in Section 2332b(g)(5) must themselves be proven. See,~, United States
v. Awan, 607 F.3d 306, 314 (2d Cir. 2010) (holding that the phrase "intended to promote" in
 Section 3Al .4 "must be applicable ... where the defendant's offense or relevant conduct does not
 include a federal crime of terrorism") (emphasis in original); United States v. Siddiqui, No. 15-
 CR-213 (SJ) (E.D.N.Y. Jan. 9, 2020) (applying terrorism enhancement where defendant was not
convicted of an enumerated crime of terrorism but where the defendant's conduct was intended to
promote the use of a weapon of mass destruction, which is an enumerated crime of terrorism).
 Here, the enhancement applies because Camovic' s conduct was intended to promote, among other
·crimes, material support for terrorism under 18 U.S. C. § 23 39A and material support for a
 designated foreign terrorist organization under 18 U.S.C. § 2339B.

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conditions can mitigate. Additionally, the prospect that Camovic will face a lengthy term of
incarceration upon conviction creates a clear incentive for him to flee.

        C.     The Weight of the Evidence

               The weight of the evidence in this case is overwhelming. Camovic' s entire attack
and robbery - including his stalking while carrying a knife in order to approach and attack the
officers from behind - were captured by security cameras. Police bodycam videos show the attack
and robbery at close range, and include clear footage of Camovic forcibly robbing Officer 1 of his
firearm, possessing and brandishing the firearm and discharging the firearm at police officers.
Audio recorded on the bodycam cameras makes unmistakably clear Camovic' s shouting "Allahu
Akbar" throughout the attack. Camovic has also already admitted to committing the attack, and
his motivation for it, in his unsolicited declarations at Kings County Hospital.

                 As such, the strength of the evidence against the defendant gives him further motive
to flee rather than be convicted at trial.

       D.      The Defendant's History and Characteristics

                The defendant's history and characteristics further confirm that he presents a
substantial risk of flight and danger to the community. As detailed above, the defendant committed
a violent, unprovoked and premediated attack on police officers. The frenzied attack demonstrated
the defendant's total disregard for human life.

               Moreover, the evidence shows that Camovic committed the attack and robbery to
promote terrorism, a conclusion supported by, inter ali~ Camovic's consumption of jihadist
propaganda prior to the attack, the similarities between his attack and other ISIS-inspired terrorist
attacks around the world, his screaming the same phrase that Islamic extremists around the world
have appropriated and repeatedly used while committing similarly gruesome terrorist attacks and
his voluntary admission after the attack that his religion made him do it.

               Additionally, as set forth above, the defendant has no legal immigration status in
the United States and faces certain deportation, which provides further incentive for him to flee if
released.




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V.       Conclusion

               Each of the 3 l 42(g) factors supports the conclusion that, if released, Camovic
would pose a grave danger to the community. Additionally, his lack of legal status in the United
States, the overwhelming weight of the evidence against him and the significant prison term he
faces upon conviction are all strong incentives for him to attempt to flee prosecution if released on
bail.

                Accordingly, and for all of the foregoing reasons, including the legal presumption
that there is no set of conditions that will reasonably assure the defendant's appearance or the
safety of the community, the government respectfully submits that the Court should enter a
permanent order of detention pending trial.                    '

                                                      Respectfully submitted,

                                                      SETH D. DUCHARME
                                                      Acting United States Attorney

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cc:      Clerk of Court (by ECF)




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